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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                   CASE NO. 22-mj-2719-JG

 UNITED STATES OF AMERICA,

 vs.

 ANDREW ALTURO FAHIE,

       Defendant.
 ____________________________________/

               UNITED STATES OF AMERICA’S NOTICE OF APPEAL
             AND MOTION TO STAY ENTRY OF BOND PENDING REVIEW

        Pursuant to the Court’s instruction during the Pre-Trial Detention hearing on May 4, 2022,

 the United States hereby files this Notice of Appeal and Motion to Stay Entry of Bond Pending

 Review. Defendant Andrew Fahie has been charged via criminal complaint with: (1) conspiracy

 to import five kilograms or more of a mixture and substance containing a detectable amount of

 cocaine, in violation of 21 U.S.C. §§ 963, 952, and 960(b)(1)(A); and (2) conspiracy to launder

 money, in violation of 18 U.S.C. §§ 1956(a)(2)(A), 1956(a)(2)(B)(i), 1956(c)(7)(A), and

 1956(c)(7)(B)(iv); all in violation of 18 U.S.C. § 1956(h). On May 4, 2022, a Pre-Trial Detention

 hearing was held, and the Court entered a $500,000 corporate surety bond, but stayed the entry of

 that bond to allow for the Government to file this notice of appeal. The Government hereby

 provides notice of its appeal.

        In addition, the Government: (1) requests that any entry of bond be stayed pending the

 completion of this appeal; and (2) moves preliminarily for the revocation of the Court’s order of

 bond, under 18 U.S.C. § 3145(a)(1). As noted during the Pre-Trial Detention hearing, the

 Government needs the transcript from that hearing in order to prepare its motion for revocation of




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 bond. Undersigned counsel is in the process of obtaining that transcript, and will prepare a more

 thorough motion for revocation of bond upon receipt.




                                             Respectfully submitted,


                                             JUAN ANTONIO GONZALEZ
                                             UNITED STATES ATTORNEY

                                      By:    /s/ Frederic C. Shadley
                                             Frederic C. Shadley
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                             CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on May 5, 2022, I electronically filed the foregoing document

 with the Clerk of the Court using CM/ECF.



                                    By:      /s/ Frederic C. Shadley
                                             Frederic C. Shadley
                                             Assistant United States Attorney




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